Case 10-20954-GLT        Doc 704    Filed 10/25/23 Entered 10/25/23 07:42:40            Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA




    IN RE:

    Carole L. Taylor                                        Case No. 10-20954 GLT

                                                             Chapter 13

                Debtor



                ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

        Please enter the appearance of Joseph S. Sisca on behalf of the United States Trustee in
 the above captioned matter.

                                                     Respectfully Submitted,

                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE
                                                     Regions 3 and 9


                                                     By:/s/Joseph S. Sisca
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